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                             U NITED STATE S D ISTR ICT CO U R T


                     CASES
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                         OOU.
                            TIJE.DISTR
                                     &ICTJ
                                         OFa-
                                           FLORIDA- /*,- ,//s
                                       18U.S.C.jj2252(a)(2)& (4)(B)
 UN ITED STA TES O F A M ERICA                                          FILED BY                       D .C .

                                                                                JdN 122213
 RICH AR D R U SSO ,                                                           s'rEvtw M.I-ARIMORE
                                                                                cLE-:qxU.s.()isT.cT.
                                                                               s.D.oFFLA.bn-.tAtlo.
        Defendant.
                                       /

                                           IN DIC TM EN T

        The Grand Jury charges that:

                                           COUNT ONE               g
                                                              *u
        Between on or about December 5,2017 and JanuaryA 2018,the exactdates being

 unknow n to the G rand Jury, in Palm Beach County,in the Southern D istrict of Florida,and

 elsew here,the defendant,

                                       RICH ARD RUSSO,

 did knowingly receive any visualdepiction,using any m eansand facility ofinterstate and foreign

 com m erce,and that has been shipped and transported in and affecting interstate and foreign

 com m erce, and w hich contains m aterials which have been so shipped and transported,by any

 meansincluding by computer,and the production ofsuch visualdepiction involved theuse ofa

 m inor engaging in sexually explicitconduct,as defined in Title 18,United States Code,Section

 225642),andsuchvisualdepictionisofsuchconduct,inviolation ofTitle18,United StatesCode,
 Sections22524*42)and(b)(1).
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                                         CO U N T TW O

        Between on oraboutD ecem ber5,2017 and M ay 31,2018,the exactdates being unknown

 to the Grand Jury,in Palm Beach County,in the Southel.
                                                      n DistrictofFlorida,and elsewhere,the

 defendant,

                                      R ICH A R D RU SSO ,

 did knowingly possessand accesswith intentto view m atterthatcontained any visualdepiction

 thathad been shipped and transported using any means and facility of interstate and foreign

 com merce,and in and affecting interstateand foreign comm erce,and which wasproduced using

 m aterialswhichhavebeen soshipped and transported,by anym eans,includingby computer,and

 the production ofsuch visualdepiction having involved the use ofa m inor engaged in sexually

 explicitconduct,asdefined in Title 18,United StatesCode,Section 2256(2),and such visual
 depictionwasofsuchconduct,inviolationofTitle18,UnitedStatesCode,Section2252(a)(4)(B).
        PursuanttoTitle 18,United StatesCode,Section2252(b)(2),itisfurtheralleged thatthis
 violation involved a visual depiction of a prepubescent m inor or a m inor w ho had not attained

 twelve(12)yearsofage.
                         C RIM INA L FO R FEITU RE A LLE GA TIO N S

               Upon conviction ofa violation ofTitle 18,United StatesCode,Section 2252,as

 alleged in Count1and Count2 ofthislndictm ent,the defendant,RICH A RD RU SSO ,shallforfeit

 to the United States:

        (a) any visualdepiction ofaminorengaged in sexuallyexplicitconduct,andanybook,
 m agazine,periodical,film ,videotape,or other m atterw hich contains any such visualdepiction,




                                                2
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 which w asproduced,transported,m ailed,shipped,orreceived,in violation ofChapter 110 ofTitle

 18,U nited States Code;

        (b) any property,realor personal,constituting or traceable to gross profits or other
 proceeds obtained from such offense,and

        (c) anyproperty,realorpersonal,used orintended tobeusedto commitortopromote
 the com m ission ofsuch offense orany propedy traceable to such property.

        A1lpursuantto Title 18,United StatesCode,Section 2253,and theproceduressetforth at

 Title 21,United States Code,Section 853.



                                                   A mnyyr?),vv.


                                                 1FOREPVMOX- **'-
 BENJA M     .GREEN BERG
 U NITED STA TES ATTO RN EY



 COREY EIN BERG
 A SSISTAN T U .S.A TT     N EY
  Case 0:18-cr-60163-BB Document
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                                  STATES     on FLSD
                                         DISTRICT    Docket
                                                   COIJRT 06/12/2018 Page 4 of 5
                          SOUTH ERN DISTRICT O F FLORIDA

U NITED STA TES O F A M ER IC A                                CA SE N O .
VS.
                                                               CERTIFICATE O F TltlAL ATTOIG EYW
RICHARD RUSSO ,
                                 Defendant.
                                                             ( Superseding Case Inform ation:
CourtDivision:(SelectOne)                                      New Defendantts)                   Yes         No
                                                               NumberofNew Defendants
        M iam i           Key W est -                          Totalnumberofcounts
        FTL . -T7-
                -         MYB               FTP - --


        Idoherebycertifythat:
        l.     lhavecarcfullyconsideredtheallegationsoftheindictment,thenumberofdefendants,thenumberofprobable
               witnessesand thelegalcomplexitiesofthelndictm ent/lnform ationattachedhereto.
                lam awarethatthe inform ation supplied on thisstatem entwillberelied upon by the JudgesofthisCourtin
                settingtheircalendarsandschedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.
                Section3161.

                lnterpreter:     (YesorNo)              NO
                Listlanguageand/ordialect
       4.       Thiscasewilltake            A      daysforthepartiestotry.
                Pleasecheck appropriatecategory andtypeofoffenselistedbelow:
                (Checkonlyone)                                           (Checkonlyone)
       I        0 to 5days              X                      Petty
       11       6 to 10 days                                   M inor
       lII      ll to 20 days                                            M isdem.
       IV       21 to 60 days                                            Felony               X
       V        61daysand over
       6.       HasthiscasebeenpreviouslyfiledinthisDistrictCourt?                                (YesorNo)
       lfyes:
       Judge:                                                           CaseNo.
                   (Attachcopyofdispositiveorder)
       Hasacomplaintbeenfiledinthismatter?      Yes (YesorNo)
       lfyes:
       M agistrateCaseNo.                              18-8239-W M
       RelatedM iscellaneousnumbers:
       Defendantts)infederalcustodyasof
       Defendantts)instatecustodyasof
       Rule20from theDistrictof
       lsthisapotentialdeathpenaltycase?                No      (YesorNo)
                D oesthiscaseoriginatefrom am atterpending intheNorthern Region ofthe U .S.Attom ey'sO fficepliorto
                O ctober14,2003?        Y es        X No

       8.       D oesthiscase originate from a m atterpending inthe CentralRegion ofthe U .S.Attorney'sO ftice priorto
                Septem ber 1,2                   Yes         X No

                                                                                          S        %
                                                              COREY S      BERG
                                                              A SSISTAN T UN ITED STAT                  ORNEY
                                                              CourtN umber0563234
PenaltySheetts)attached
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                               UN ITED STA TES D ISTR IC T CO UR T
                               SO U TH ER N D ISTR IC T O F FL O R ID A

                                              PEN A LTY SH EET



Defendant'sNam e:RICHARD RUSSO                      C ase N o:

Counts:

 ReceiptofChild Pom ography

 18 U.S.C.i 225242 (2)and (b1(1)

*M ax. Penalty: 20 years' im prisonm ent w ith a 5 year m andatory m inim um tenn of im prisonm ent;
$1,000,000fine;aterm pf5yearsto lifeofsupervised release.

Count:

 Possession ofChild Pornokrraphv

 18U.S.C.i2252(a)(4)(B)and (b1(21

*M ax.Penalty:20 years'imprisonment;$1,000,000 fine;a term of5 yearsto lifeofsupervisedrelease

Count:




*M ax.Penalty:

Count:




*M ax.Penalty:
*Refers cnly to pcssible term ef incarceraticn. dôes n:t include pessible fines, restitution, special assessments,
parcle terms er ferfeitures that ma# be applicable.
